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 6

 7                                IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                   ) Case No. 2:19-cr-0107 KJM
                                                 )
11              Plaintiff,                       )   NOTICE OF RELATED CASES
                                                 )
12                           v.                  )    [Local Rules 123(a)(4), 123(c)]
                                                 )
13   RONALD YANDELL,                             )
     DANIEL “Danny” TROXELL,                     )
14   WILLIAM “Billy” SYLVESTER,                  )
     TRAVIS BURHOP,                              )
15   BRANT DANIEL,                               )
     DONALD MAZZA,                               )
16   PAT BRADY,                                  )
     JASON “Jake” CORBETT,                       )
17   MATTHEW HALL,                               )
     SAMUEL KEETON,                              )
18   MICHAEL TORRES,                             )
     JEANNA QUESENBERRY,                         )
19   KEVIN MacNAMARA,                            )
     KRISTEN DEMAR,                              )
20   JUSTIN PETTY, and                           )
     KATHLEEN NOLAN,                             )
21                                               )
                Defendants.                      )
22

23   UNITED STATES OF AMERICA,                   ) Case No. 2:19-cr-0079 KJM
                                                 )
24              Plaintiff,                       )   NOTICE OF RELATED CASES
                                                 )
25                           v.                  )    [Local Rules 123(a)(4), 123(c)]
                                                 )
26   BRIAN BUTLER, and                           )
     VICENTE CASTRO ZAVALETA,                    )
27                                               )
                Defendants.                      )
28                                               )

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 1   UNITED STATES OF AMERICA,                        ) Case No. 2:19-cr-0081 KJM
                                                      )
 2               Plaintiff,                           )   NOTICE OF RELATED CASES
                                                      )
 3                            v.                      )    [Local Rules 123(a)(4), 123(c)]
                                                      )
 4   JEANNA QUESENBERRY,                              )
     NANCY PHILLIPS,                                  )
 5   KATHERINE FUIMAONO, and                          )
     STACI BLANTON,                                   )
 6                                                    )
                 Defendants.                          )
 7                                                    )

 8   UNITED STATES OF AMERICA,                        ) Case No. 2:19-cr-00110 MCE
                                                      )
 9               Plaintiff,                           )   NOTICE OF RELATED CASES
                                                      )
10                            v.                      )    [Local Rules 123(a)(4), 123(c)]
                                                      )
11   ARTURO ZAVALETA,                                 )
                                                      )
12               Defendant.                           )
                                                      )
13                                                    )
                                                      )
14                                                    )
15                                  NOTICE          OF     RELATED CASES
16          The United States of America, by and through Assistant United States Attorney Jason Hitt,
17 provides notice to the Court and the Clerk of the Court that the cases of United States v. Butler, et al.,

18 Case No. 2:19-cr-0079 KJM, United States v. Quesenberry, et al., Case No. 2:19-cr-0081 KJM, and

19 United States v. Yandell, et al., Case No. 2:19-cr-0107 KJM are related to the case of United States v.

20 Zavaleta, Case No. 2:19-cr-00110 MCE. The Butler, Quesenberry, and Yandell cases are related to the

21 Zavaleta case within the meaning of Eastern District of California Local Rules 123(a)(3) and 123(a)(4).

22          The matters are related under Local Rule 123(a)(3) because all four actions share a common set
23 of facts, witnesses, and evidence. The matters are related under Local Rule 123(a)(4) because keeping

24 all of the cases assigned to the same District Judge would avoid a substantial duplication of labor. In

25 particular, the Zavaleta case relies upon evidence of drugs, firearms, and other contraband seized from a

26 home that the government alleges was the residence of the supplier for drugs supplied in the Butler case.

27 During subsequent investigation of the Butler targets, the United States obtained wiretaps which

28 resulted, in part, in the evidence supporting the Quesenberry and Yandell cases. During the arrests and

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 1 investigative takedown of the defendants in the Butler, Quesenberry, and Yandell cases, DEA obtained a

 2 search warrant and executed it at the home of the defendant in the subsequent Zavaleta case. There are

 3 many witnesses from the Butler, Quesenberry, and Yandell cases that support the charges in the

 4 Zavaleta case, including the undercover agent who began the investigation into Butler, continued it

 5 through the Quesenberry and Yandell investigation, and concluded with the search warrant served at the

 6 residence from in the Zavaleta case. The matters are therefore related under Local Rule 123(a)(4)

 7 because assignment of these actions to a single District Judge is likely to effect a great savings of

 8 judicial effort. In addition, the parties in the Butler, Quesenberry, and Yandell cases have agreed to use

 9 one discovery coordinator for all three cases and defense counsel for Zavaleta will likely desire access to

10 this shared discovery in order to evaluate the case against Mr. Zavaleta. By granting this related-case

11 order, counsel in Zavaleta will be able to use the shared resources of the discovery coordinator in the

12 other cases.

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      NOTICE OF RELATED CASES
             Case 2:19-cr-00107-KJM Document 115 Filed 07/31/19 Page 4 of 5


 1          The only necessary step to effectuate this related-case request is for the Court to have the Clerk

 2 of the Court designate the case of United States v. Zavaleta, Case No. 2:19-cr-00110 MCE as related to

 3 the cases already assigned to this Court in United States v. Butler, et al., Case No. 2:19-cr-0079 KJM,

 4 United States v. Quesenberry, et al., Case No. 2:19-cr-0081 KJM, United States v. Yandell, et al., Case

 5 No. 2:19-cr-0107 KJM. The United States therefore respectfully provides notice that the criminal

 6 Indictment in United States v. Zavaleta, Case No. 2:19-cr-00110 MCE, is related to the Indictments in

 7 United States v. Butler, et al., Case No. 2:19-cr-0079 KJM, United States v. Quesenberry, et al., Case

 8 No. 2:19-cr-0081 KJM, United States v. Yandell, et al., Case No. 2:19-cr-0107 KJM, within the meaning

 9 of Local Rules 123(a)(3) and 123(a)(4) and asks that the Court ask the Clerk of the Court designate the

10 Zavaleta case as related to the Butler, Quesenberry, and Yandell cases.

11

12                                                        Respectfully submitted,

13
                                                          McGREGOR W. SCOTT
14                                                        United States Attorney

15 DATED: July 22, 2019                               By: /s/Jason Hitt ____________
                                                          JASON HITT
16                                                        AMANDA BECK
                                                          ROSS PEARSON
17                                                        DAVID SPENCER
                                                         Assistant U.S. Attorneys
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 1                                               O R D E R

 2          For the reasons set forth in the Notice of Related Cases filed by counsel for the United States, the

 3 Court finds that the case of United States v. Zavaleta, Case No. 2:19-cr-00110 MCE, is related to the

 4 cases of United States v. Butler, et al., Case No. 2:19-cr-0079 KJM, United States v. Quesenberry, et al.,

 5 Case No. 2:19-cr-0081 KJM, and United States v. Yandell, et al., Case No. 2:19-cr-0107 KJM, within

 6 the meaning of Local Rules 12(a)(3) and 123(a)(4) because assignment of these actions to a single

 7 District Judge is likely to effect a great savings of judicial effort and the two actions share a common set

 8 of facts, witnesses, and evidence.

 9          Based upon this finding, IT IS HEREBY ORDERED that, pursuant to Local Rule 123(c), the

10 Clerk of the Court is directed to reassign the case of United States v. Zavaleta, Case No. 2:19-cr-00110

11 MCE to the Honorable Kimberly J. Mueller and it shall thereafter be designated “Case No. 2:19-cr-

12 00110 KJM.”

13          IT IS FURTHER ORDERED that the Clerk of the Court shall make an appropriate adjustment in

14 the assignment of cases to compensate for this reassignment.

15
            IT IS SO ORDERED.
16
     DATED: July 30, 2019.
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18
                                                        UNITED STATES DISTRICT JUDGE
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      NOTICE OF RELATED CASES
